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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


MARY GREINER,
                                                 Case No. 17-13712
            Plaintiff,
                                                 SENIOR UNITED STATES DISTRICT
v.                                               JUDGE ARTHUR J. TARNOW

EQUIFAX INFORMATION SERVICES                     MAGISTRATE JUDGE STEPHANIE
LLC, ET AL.,                                     DAWKINS DAVIS

            Defendants.

                                      /

                                  JUDGMENT

      Because Plaintiff has failed to respond to the Court’s Order to Show Cause

[15], the Court awards Plaintiff $100.00 in damages.

      Dated at Detroit, Michigan, this 15th day of August 2018.

                               DAVID J. WEAVER
                               CLERK OF THE COURT

                               BY: s/Michael E. Lang
                               Deputy Clerk

Approved:

s/Arthur J. Tarnow
ARTHUR J. TARNOW
SENIOR UNITED STATES DISTRICT JUDGE



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